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 8

 9                              IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:16-CR-00122-DAD-BAM-6
12                                Plaintiff,            STIPULATION AND ORDER TO
                                                        CONTINUE COMPETENCY HEARING
13                         v.
14   RAFAEL DELATORRE,
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for hearing on October 16, 2017 at 10:00 a.m.
21          2.     The defendant has requested a continuance of the competency hearing because its expert

22 witness, Dr. A. A. Howsepian, is unavailable on October 16, 2017. Defense counsel has contacted Dr.

23 Howsepian and confirmed his availability for the proposed hearing date of November 6, 2017.

24          3.     The government does not object to the continuance and has confirmed that its expert

25 witness is available on November 6, 2017.

26          4.     The parties, therefore, stipulate that the competency hearing, currently scheduled for
27 October 16, 2017, should be rescheduled for November 6, 2017 at 10:00 a.m. The parties further

28 stipulate that time should be excluded, and acknowledge that time was previously excluded for good

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 1 cause through and including December 11, 2017.

 2          IT IS SO STIPULATED.

 3 Dated: October 12, 2017                                   PHILLIP A. TALBERT
                                                             United States Attorney
 4

 5                                                           /s/ MELANIE L. ALSWORTH
                                                             MELANIE L. ALSWORTH
 6                                                           Assistant United States Attorney

 7

 8 Dated: October 12, 2017                                   /s/ DALE BLICKENSTAFF
                                                             DALE BLICKENSTAFF
 9                                                           Counsel for Defendant
                                                             Rafael Delatorre
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12                                                   ORDER
13          The court has reviewed and considered the stipulation of the parties to continue the competency
14 hearing in this case. Good cause appearing, the competency hearing as to the above named defendant

15 currently scheduled for October 16, 2017, is continued until November 6, 2017, at 10:00 a.m. in

16 courtroom 5 before District Judge Dale A. Drozd. The time period between October 16, 2017 and

17 November 6, 2017 is excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and

18 (B)(i) and (iv), as based on the representations of counsel the ends of justice served by granting the

19 continuance outweigh the best interest of the public and the defendant in a speedy trial.

20 IT IS SO ORDERED.
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        Dated:     October 12, 2017
22                                                     UNITED STATES DISTRICT JUDGE
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